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MN - 252
(Revised 10/00)


                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF MINNESOTA
In re:

James D. and Diane L. Rose,                                 BKY No. 19-41577-KHS

                   Debtors.                                 Chapter 7


                  APPLICATION FOR APPROVAL OF EMPLOYMENT OF ATTORNEY

1.                 Applicant is the trustee in this case.

2.                 Applicant believes that the employment of an attorney is necessary to represent or assist
                   the trustee in carrying out the trustee’s duties as follows: to advise the trustee regarding
                   contract and deed issues related to sale of real property, recovery of non-exempt funds
                   and any necessary claim objection actions.

3.                 Julia A. Christians of Lapp, Libra, Stoebner & Pusch, Chartered, 120 South Sixth Street,
                   Suite 2500, Minneapolis, MN 55402, 612-338-5815, is qualified by reason of practice
                   and experience to render such representation or assistance.

4.                 Proposed compensation and reimbursement of expenses is as follows: $480.00 per hour
                   for Julia A. Christians, $190.00 per hour for paralegal services, and the normal hourly
                   rate for other attorneys in the firm. In addition, said compensation rates are subject to
                   periodic adjustments.

5.                 Said professional has disclosed to the undersigned that she has the following connections
                   with the debtor(s), creditors, any other party-in-interest, their respective attorneys and
                   accountants, the United States Trustee or any person employed in the Office of the
                   United States Trustee: She is the Chapter 7 Trustee for the above-referenced bankruptcy
                   estate.

6.                 The trustee has made the following efforts to recover the asset prior to submitting this
                   Application: Conferred with a real estate agent, reviewed requested sale documentation
                   and responded to the issues in dispute.

          WHEREFORE, applicant prays that the Court approve such employment by the trustee.


Dated: June 5, 2019                                           /e/ Julia A. Christians
                                                              Julia A. Christians, Trustee
                                                              120 South Sixth Street, Suite 2500
                                                              Minneapolis, MN 55402
                                                              (612) 338-5815
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James D. and Diane L. Rose,                              BKY No. 19-41577-KHS

                  Debtors.                               Chapter 7



            VERIFIED STATEMENT PURSUANT TO FEDERAL RULE 2014(a)
 ___________________________________________________________________________________


          I, Julia A. Christians of Lapp, Libra, Stoebner & Pusch, Chartered, the professional named in the

application for employment on behalf of the above named bankruptcy estate, declare under penalty of

perjury the following:

          1.      I do not hold or represent any interest adverse to the estate and am disinterested as

                  required by 11 U.S.C. § 327.

          2.      I do not have any connections to the debtor, creditors, any other party in interest, their

                  respective attorneys and accountants, the United States trustee, or any person employed

                  in the offices of the United States Trustee, except for the following: I am the Chapter 7

                  Trustee for the above-referenced bankruptcy estate.



Dated: June 5, 2019                        By: /e/ Julia A. Christians
                                                    Julia A. Christians
                                                    Lapp, Libra, Stoebner & Pusch, Chartered
                                                    120 South Sixth Street, Suite 2500
                                                    Minneapolis, MN 55402
                                                    612-338-5815
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In re:

James D. and Diane L. Rose,                            BKY No. 19-41577-KHS

                  Debtors.                             Chapter 7

                              UNSWORN CERTIFICATE OF SERVICE

        I, Katie J. Stimpel, declare under penalty of perjury that on June 5, 2019, I e-mailed copies of the
attached Application for Approval of Employment of Attorney, Verified Statement, and proposed
Order to each entity named below at the address stated below for each entity:


USTPRegion12.MN.ECF@usdoj.gov

U.S. Trustee
1015 U.S. Courthouse
300 South Fourth Street
Minneapolis, MN 55415




Executed on: June 5, 2019                                 /e/ Katie J. Stimpel
                                                          Katie J. Stimpel, Legal Assistant
                                                          Lapp, Libra, Stoebner &
                                                                   Pusch, Chartered
                                                          120 South Sixth Street, Suite 2500
                                                          Minneapolis, MN 55402
                                                          612/338-5815
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                                    DISTRICT OF MINNESOTA
In re:

James D. and Diane L. Rose,                            BKY No. 19-41577-KHS

                  Debtors.                             Chapter 7



                                                  ORDER



          The trustee's application to approve the employment of Lapp, Libra, Stoebner & Pusch,

Chartered, as the trustee's attorneys came before the court.

Based on the application, the recommendation of the United States Trustee and 11 U.S.C. § 327,

          IT IS ORDERED: the employment is approved.




Dated:                                                    ______________________________
                                                          Kathleen H. Sanberg
                                                          Chief United States Bankruptcy Judge
